Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 1 of 7 Page ID #:29490

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.         15-ml-02668 PSG (JEMx)                                                 Date     April 25, 2023
 Title            In Re National Football Leagues Sunday Ticket Antitrust Litigation



 Present: The                   JOHN E. MCDERMOTT, UNITED STATES MAGISTRATE JUDGE
 Honorable
                       S. Lorenzo
                      Deputy Clerk                                            Court Reporter / Recorder




 Proceedings:                (IN CHAMBERS) ORDER RE PLAINTIFFS’ MOTION TO
                             COMPEL DISCOVERY ON THE NEW SUNDAY TICKET
                             AGREEMENT (Dkt. 912)

       Before the Court is Plaintiffs’ Motion To Compel Discovery On The New Sunday
Ticket Agreement (“Motion”) filed on April 4, 2023. (Dkt. 912.) Both parties filed a
Joint Stipulation on that same date. (Dkt. 913-1, 914-1.) Plaintiffs filed a Supplemental
Memorandum on April 18, 2023. (Dkt. 922.) The NFL did not file a supplemental
memorandum. The Court GRANTS the Motion in part and DENIES it in part.1

         On January 20, 2022, Plaintiffs served RFP No. 112 which requested:

                       All presentations, analyses, strategic planning documents and
                communications regarding the current negotiations for the rights to
                Sunday Ticket from January 1, 2021 to the present day (and continuing
                in nature pursuant to Rule 26(e)).

(JS at 5.) The parties met and conferred, and agreed that the NFL would collect
additional documents from the custodial files of Commissioner Goodell, Mr. Rolapp and
Mr. Schroeder who were expected to be the key decisionmakers and who would be
involved in all key discussions and negotiations concerning the upcoming Sunday Ticket
agreements and produce responsive documents that hit on the search term proposed by
Plaintiffs. (Dkt. 918-7, ¶ 11.) On May 7, 2022, the NFL produced documents responsive
to Request No. 112. (Id., ¶ 12.) Plaintiffs did not make any challenge in Court to the
adequacy of the search term at that time.

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           The Court finds this matter appropriate for resolution without oral argument and thus vacates the May 2, 2023
hearing date on the Motion. See Fed. R. Civ. P. 78(b); Local Rule 5-15.
CV-90 (10/08)                                    CIVIL MINUTES - GENERAL                                           Page 1 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 2 of 7 Page ID #:29491

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.         15-ml-02668 PSG (JEMx)                                      Date     April 25, 2023
 Title            In Re National Football Leagues Sunday Ticket Antitrust Litigation

       The relevant fact discovery cut-off deadline is August 5, 2022. (Dkt. 434.) On
July 15, 2022, Plaintiffs moved for limited discovery after the August 5, 2022 fact
discovery deadline. (Id., ¶ 16.) On August 9, 2022, the District Judge held a hearing on
Plaintiffs’ motion. (Dkt. 613.) Plaintiffs’ counsel represented as follows:

                In the past Plaintiffs and the NFL have agreed to search the custodians
                of -- three NFL custodians under agreed upon search terms and
                Plaintiffs would agree to having that protocol govern the scope of any
                future productions as well.

(Dkt. 613, Ex. 8, at 10:7-10.) (Emphasis added.) The Court directed the parties to meet
and confer, and present the Court with a Status Report. (Id. at 16-20.) On August 11,
2022, the Court granted Plaintiffs’ motion to take limited discovery after the deadline for
fact discovery. (Dkt. 607.) The Court modified the Scheduling Order to allow Plaintiffs
to pursue discovery related to:

                Document production related to NFL Defendants’ ongoing negotiations
                with third parties for the sale of the future rights to NFL Sunday Ticket,
                as well as document and deposition discovery about the new NFL
                Sunday Ticket agreement once such a deal is finalized.

(Id. at 3-4.)

       On September 9, 2022, the parties filed a Status Report which indicated that the
parties reached an agreement that the NFL would produce documents responsive to
Request No. 112 within 45 days of the execution of an agreement for the future rights to
Sunday Ticket. (Dkt. 643, ¶ 2.) More specifically, the Status Report provides, “The NFL
will collect documents from the same custodians using the same agreed-upon search
terms to which the parties agreed for the NFL’s May 7, 2022 production.” (Id.) The
parties also agreed to a Rule 30(b)(6) deposition. (Id., ¶ 4.) A Proposed Order was
attached to the Status Report. (Dkt. 643-1.) On September 12, 2022, the Court signed
that Order which provides:

                IT IS ORDERED that, within forty-five (45) days of the date on which
                the NFL reaches an agreement for the future rights to NFL Sunday
                Ticket, the NFL shall produce documents responsive to Plaintiffs’
CV-90 (10/08)                               CIVIL MINUTES - GENERAL                                 Page 2 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 3 of 7 Page ID #:29492

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.            15-ml-02668 PSG (JEMx)                                      Date     April 25, 2023
 Title               In Re National Football Leagues Sunday Ticket Antitrust Litigation

                Request for Production 112. This production shall comprise documents
                dating from April 4, 2022 to the date on which an agreement is reached
                collected from the custodians agreed-upon by the parties using the
                electronic search terms agreed-upon by the parties. The NFL shall also
                make a witness available for deposition to provide testimony, on behalf
                of the NFL pursuant to Federal Rule of Civil Procedure 30(b)(6), on a
                topic to be agreed upon by the parties.

(Dkt. 645.) The Order does not authorize additional document requests.

      On December 22, 2022 the NFL and Google announced their agreement granting
YouTube TV the rights to the residential Sunday Ticket package beginning the 2023 NFL
season. (Dkt. 918-7, ¶ 24.) The NFL Defendants collected documents from the three
agreed-upon custodians, reviewed those that hit on the parties’ agreed-upon search terms,
and produced 667 responsive documents on January 13, 2023. (Id.) The NFL
Defendants have produced the following documents regarding the new Sunday Ticket
package:

                1.       The agreement itself between the NFL and Google.
                2.       Proposals from third parties Google, Apple, Amazon, Roku and
                         ESPN regarding the rights to Sunday Ticket package.
                3.       Discussions both within the NFL and with third parties about the
                         potential of NFL distributing the Sunday Ticket package itself.
                4.       Communications between NFL employees and Google, Amazon,
                         Roku and ESPN regarding the rights to the NFL Sunday Ticket
                         package.
                5.       Internal discussions with the NFL regarding the above proposals.
                6.       Analyses conducted by the NFL and third parties regarding the
                         future rights to the NFL Sunday Ticket package.

(Id., ¶ 25.)

         There does not appear to be any dispute that the NFL Defendants complied with




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                 Page 3 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 4 of 7 Page ID #:29493

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.       15-ml-02668 PSG (JEMx)                                                Date     April 25, 2023
 Title          In Re National Football Leagues Sunday Ticket Antitrust Litigation

the discovery protocol set forth in the September 12, 2022 Order. (Dkt. 645.)2 Plaintiffs,
however, argue that the NFL’s production is deficient as it does not provide documents
Plaintiffs believe exist, especially regarding the breakdown in negotiations with Apple.
(JS at 9-11.) Plaintiffs also claim there are documents regarding communications with
the five potential purchasers, the NFL’s internal discussions about the negotiations and its
related communications with CBS and Fox that have not been produced. (JS at 3:1-3.)
Their Proposed Order would require the NFL to collect documents on these matters
“from all NFL employees who were party to such communications.” (Dkt. 194-10.)
Plaintiffs also assert that at the time the discovery protocol was agreed, they were
unaware that Dhruv Prasad purportedly had been hired to lead the negotiations and thus
should be added as a custodian. In fact, Plaintiffs seek to add three new custodians and
16 additional search terms. (Dkt. 918-7, ¶ 27.)

       Plaintiffs assert that the NFL is required to supplement its production as to the
matters above. Fed. R. Civ. P. Rule 26(e))(1)(A) provides that supplementation is
required if a party “learns that in some material respect the disclosure is incomplete or
incorrect, and if the additional information has not otherwise been made known to the
other parties during the discovery process or in writing.” Information is “incomplete or
incorrect” in some material respect if there is an objectively reasonable likelihood that the
additional or corrective information could substantially affect or alter the opposing
party’s discovery plan or trial preparation. L.A. Terminals, Inc. V. United Nat. Ins. Co.,
340 F.R.D. 390, 396 (C.D. Cal. 2022). The burden rests with the party seeking to compel
additional discovery to bring forth evidence that warrants supplementation. Moriarity v.
Am. Gen. Life Ins. Co., 2021 WL 6197289 (S.D. Cal.).

      To begin, there is no deficiency in the NFL production. It is undisputed that the
NFL has complied with the discovery requirements of the September 12, 2022 Order, an
Order to which Plaintiffs agreed. That Order set the parameters of the NFL’s Rule 26(e)
supplementation obligation in regard to its document production responsive to Request
No. 112. Plaintiffs in effect agreed that compliance with the September 12, 2022 Order
would not be “incomplete” or “incorrect.” Unhappy with the results of the NFL’s
production, however, Plaintiffs now seek to jettison the September 12, 2022 Order in
favor of an expansive new protocol that requires production of all documents responsive

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           On March 28, 2023, the NFL announced that it had reached an agreement for the future rights to the commercial
Sunday Ticket package. (Dkt. 918-7, ¶ 31.) The NFL expects to make a further production of documents in accordance with
the same discovery protocol.
CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                          Page 4 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 5 of 7 Page ID #:29494

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       15-ml-02668 PSG (JEMx)                                      Date     April 25, 2023
 Title          In Re National Football Leagues Sunday Ticket Antitrust Litigation

to Req. No. 112 “collected from all NFL employees who were party to such
communications.” (Dkt. 914-10.)

       The NFL, however, contends that Plaintiffs have not brought sufficient evidence to
warrant such a drastic departure from the September 12, 2022 Order. For example,
Plaintiffs believed that the NFL had not produced the communications between NFL
employees Brent Lawton and William Deng and employees at Apple, which Apple had
produced in response to subpoena. (Dkt. 918-7, ¶ 22.) NFL’s counsel, however,
investigated and found that the NFL had produced half of the email threads that Apple
had produced involving Lawton and Deng and the remaining communications were
largely not substantive and did not hit on the parties’ agreed-upon search term. (Id.)
Plaintiffs did not respond to these facts in either their Joint Stipulation or their
Supplemental portion of the Memorandum.

       Plaintiffs also are concerned that there are few documents regarding the breakdown
of negotiations between Apple and the NFL. (JS 9-11.) Public reporting suggests the
negotiations broke down because the NFL refused to let Apple distribute local games or
offer Sunday Ticket at significantly lower prices. (Id.) The NFL, however, argues that
documents it has produced suggest numerous reasons why the negotiations failed. (JS at
29-30.) None of the reasons cited by NFL and Apple contained any reference to Sunday
Ticket package pricing. (Dkt. 918-7, ¶ 26.) Also, the document Plaintiffs cite
“discussing a breakdown in negotiations” indicates the communication with Apple
consisted of ”[j]ust the verbal message.” (Dkt. 914-2, ¶ 20, Ex. 6; 918-7, ¶ 26.) Indeed,
the NFL contends that much of the negotiations were handled in person or telephonically.
(JS at 4, 8.)

       Plaintiffs assert that documents indicate that Dhruv Prasal was hired by the NFL to
lead the Sunday Ticket negotiations. (Dkt. 914-2, ¶¶ 16-17.) They say they did not know
this fact and if they had known they would have insisted Prasad be named a custodian.
(JS at 16:24-28.) Yet the NFL states under oath that Mr. Prasad “had no involvement in
the negotiation or implementation of any of the Sunday Ticket agreements that were
operative during the class period.” Plaintiffs did not address this declaration testimony in
their Supplemental Memorandum.

      Plaintiffs repeatedly assert that they were promised they would be copied on “all
relevant documents” concerning Sunday Ticket negotiations (Dkt. 922 at 1, 2) but this is
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                                 Page 5 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 6 of 7 Page ID #:29495

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       15-ml-02668 PSG (JEMx)                                      Date     April 25, 2023
 Title          In Re National Football Leagues Sunday Ticket Antitrust Litigation

an exaggeration. The September 12, 2022 Order makes no such promise. It requires
production of documents from collected files according to the agreed-upon search term, a
term Plaintiffs proposed. (Dkt. 914-1 at 7:20-21) (“The parties also agreed to a narrow
set of search terms that Plaintiffs proposed based on their limited knowledge of the
negotiations at that time”); (Dkt. 914-1 at 21:11-13); (Dkt. 918-7, ¶ 11).

       Plaintiffs also repeatedly assert that the NFL omitted, withheld or failed to produce
responsive documents. Yet the NFL did what it was required to do under the September
12, 2022 Order. It applied the agreed-upon search term to the custodial documents. It
did not omit or withhold anything that it was required to produce by the September 12,
2022 Order. In their Supplemental Memorandum Plaintiffs argue that the fact that
responsive documents they believe exist were omitted demonstrates that the search
protocol was deficient. (Dkt. 922 at 3:24-26.) Yet, again, it was Plaintiffs who proposed
the search term. (Dkt. 918-7, ¶ 11.)

       Essentially, what the Plaintiffs want is a “do-over.” To the extent relevant
documents exist that were not captured by the agreed-upon search protocol, the Court
rejects the plainly overbroad and unreasonable proposal to collect documents from, not
just the three custodians, but from “all NFL employees who were party to such
communications” with Apple, Amazon, Google/YouTube, Disney/ESPN and Roku.
(Dkt. 914-10.) Plaintiffs’ proposed 16 additional search terms, moreover, contain phrases
as general as “YT” or “Google” that would yield thousands of irrelevant documents that
the NFL would have to review for responsiveness. (JS 32; Dkt. 918-7, ¶ 27.) Plaintiffs’
Proposed Order would reopen expansive general discovery. (Dkt. 914-10.)

       The NFL, however, does not deny that documents responsive to Request No. 112
were not captured by the search protocol. This is best demonstrated by the fact that
Apple has produced communications with the NFL that were not included in any of the
NFL’s prior productions. These documents are in the NFL’s possession. Plaintiffs have
made a sufficient showing that there are or likely to be additional relevant responsive
documents not captured by the existing search protocol. (Dkt. 914-2, ¶¶ 18, 20, 22; Exs.
4, 5, 6.) They also have demonstrated the potential importance of these documents to
their case against the NFL. Thus, the Court finds that the NFL’s production is
“incomplete” in “material” respects.

         The Court is persuaded that Plaintiffs’ search term was deficient through no fault
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                                 Page 6 of 7
Case 2:15-ml-02668-PSG-JEM Document 924 Filed 04/25/23 Page 7 of 7 Page ID #:29496

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       15-ml-02668 PSG (JEMx)                                           Date   April 25, 2023
 Title          In Re National Football Leagues Sunday Ticket Antitrust Litigation

of their own. Plaintiffs’ proposed search term was “based on their limited knowledge of
the negotiations at the time, which did not include reference to Amazon, Apple, ESPN,
Google, or Roku, or any potential purchasers of Sunday Ticket.” (Dkt. 914-2, ¶ 7.)
Plaintiffs say that, now that they have sufficient information to identify the major
potential purchasers of Sunday Ticket, they can suggest specific search terms (the names
of the bidders) to supplement the previously agreed-upon term. (914-1 at 17:15-18.) The
Court finds that there is an objectively reasonable likelihood that the additional or
corrective information sought by Plaintiffs could substantially affect or alter the opposing
party’s discovery plan or trial preparation. L.A. Terminals, 340 F.R.D. at 396. Plaintiffs
are entitled to supplementation under Rule 26(e).

      The Court does not believe it is necessary or appropriate to add custodians. The
problem is the search term that was plainly inadequate to capture all or most
communications regarding Sunday Ticket negotiations. The remedy is fixing the search
term without altering anything else in the September 12, 2022 Order. The Court
therefore ORDERS the parties to meet and confer on a new search protocol that will be
applied to both collected as well as uncollected documents in the possession of the three
custodians. The Court Orders the parties to file a Joint Status Report within 7 days of
this Order, containing either an agreed-upon search protocol or presentation of
competing versions.

       The Court does not find any compelling evidence of an undue burden on the NFL
in conducting a search pursuant to a revised protocol. The Court’s Order is consistent
with the District Court’s ruling to continue discovery on the new Sunday Ticket
negotiations which were not concluded until after the discovery cut-off date. Summary
judgment motions are not due until July 28, 2023.
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CV-90 (10/08)                             CIVIL MINUTES - GENERAL                                    Page 7 of 7
